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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       FILED PARTIALLY UNDER SEAL
UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 1:23-CR-118-1 (AT)
               v.
                                                       DECLARATION OF
HO WAN KWOK,                                           SIDHARDHA KAMARAJU, ESQ.
                                                       ACCOMPANYING DEFENDANT’S
                       Defendant.                      MOTION TO DISMISS THE
                                                       SUPERSEDING INDICTMENT


       I, SIDHARDHA KAMARAJU, ESQ., hereby declare, pursuant to 28 U.S.C. § 1746, as

follows:

       1.     I am a partner at the law firm Pryor Cashman LLP, counsel for Defendant Ho Wan

Kwok in the above-captioned matter. I submit this declaration upon my personal knowledge in

support of Defendant’s Motion to Dismiss the Superseding Indictment.

       2.     A true and correct copy of the GTV Confidential Information Memorandum dated

April 20, 2020, which was produced in this proceeding by the government, is attached hereto as

Exhibit A.

       3.     A true and correct copy of a June 26, 2023 letter from the government to prior

counsel for Mr. Kwok disclosing information pursuant to its obligations under Brady v. Maryland,

373 U.S. 83 (1963), is attached hereto as Exhibit B.
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       4.     A true and correct copy of a G|CLUBS Membership Agreement, which was

produced in this proceeding by the government, is attached hereto as Exhibit C.

       I declare under penalty of perjury that the foregoing is true and correct.



Executed on February 7, 2024.
                                                                     Sidhardha Kamaraju
                                                                     Counsel for Defendant
                                                                     Ho Wan Kwok




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